            Case 3:09-cv-00005-JJB-CN Document 1             01/06/09 Page 1 of 3



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF LOUISIANA

EARL J. VEAL                                    *
                                                *
                      PLAINTIFF                 *
VS.                                             *   CIVIL ACTION NO. __________________
                                                *
PORTFOLIO RECOVERY                              *   COMPLAINT AND
ASSOCIATES, LLC                                 *   DEMAND FOR A JURY TRIAL
                DEFENDANT                       *

                                         COMPLAINT

                                         I. Introduction

               1.     This is an action for damages brought by an individual consumer for

defendant’s violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq.

(hereinafter "FDCPA"), which prohibits debt collectors from engaging in abusive, deceptive, and

unfair practices, and to insure that those debt collectors who refrain from using abusive debt

collection practices are not competitively disadvantaged.

                                       II. JURISDICTION

               2.     Jurisdiction of this court arises under 15 U.S.C. § 1692k, 28 U.S.C. §§ 1331

and 1337.

                                          III. PARTIES

               3.     Plaintiff, Earl J. Veal(“plaintiff” or “Mr. Veal”), is a natural person who

resides in East Baton Rouge Parish and is a "consumer" as defined by 15 U.S.C. § 1692a(3).

               4.     Defendant, Portfolio Recovery Associates, LLC (hereinafter referred to as

“defendant” or “PRA”) is a foreign corporation doing business in the state of Louisiana, whose

registered agent for service of process in Delaware is National Registered Agents, Inc., 160

Greentree Drive, Suite 101, Dover, DE 19904. Defendant, at all times relevant hereto, regularly
           Case 3:09-cv-00005-JJB-CN Document 1               01/06/09 Page 2 of 3



attempted to collect debts alleged to be due another and is a "debt collector" as defined under the

FDCPA.

                                IV. FACTUAL ALLEGATIONS

               5.     Less than one year from the date of filing this complaint, defendant mailed

to the Internal Revenue Service and Mr. Veal a Form 1099-C for alleged cancellation of debt owed

on a credit card originated by Providian National Bank in the amount of approximately $879.65.

               6.     This alleged debt arose from use of a credit card which was used primarily for

personal, family or household purposes.

               7.     Defendant allegedly acquired this alleged debt on June 2, 2006, after it had

gone into default.

               8.     The last payment on this alleged debt occurred in 1997.

               9.     There are limited circumstances under which a Form 1099-C can be issued

for cancelled debt and none of those circumstances occurred in 2007 that would justify the issuance

of a Form 1099-C.

               10.    When Mr. Veal contacted defendant in July 2008 regarding the Form 1099-C

issued for this account, he was advised that it was “required from the government when a bill isn’t

paid.”

               11.    The defendant claimed since Mr. Veal sent a cease and desist communication

letter to it pursuant to section 1692c of the FDCPA, it issued the Form 1099-C.

               12.    Defendant also claimed that “IRS requires we send out a letter basically

stating this is now earned income.”

               13.    Defendant claimed also that the IRS tells defendant to send out the Form


                                                2
            Case 3:09-cv-00005-JJB-CN Document 1                  01/06/09 Page 3 of 3



1099-C.

                                   DEFENDANT’S PRACTICES

                14.      Defendant violated numerous provisions of the FDCPA including but not

limited to sections 1692e, 1692e(2)(A), 1692e(5), and 1692e(10).

                15.      Plaintiff has suffered actual damages and injury, including, but not limited to,

stress, humiliation, anxiety, extreme mental anguish and suffering, emotional distress, and possible

additional income taxes, penalties and interest, for which he should be compensated in an amount

to be proven at trial.

                WHEREFORE, plaintiff respectfully requests that the Court grant the following relief

in his favor and against Portfolio Recovery Associates, LLC for:

                         a.      Additional damages;

                         b.      Actual damages;

                         c.      Attorney fees, litigation expenses and costs; and

                         d.      Such other and further relief as is appropriate.

                         A JURY TRIAL IS DEMANDED.

                                                         s/Garth J. Ridge
                                                         GARTH J. RIDGE
                                                         Attorney for Plaintiff
                                                         Bar Roll Number: 20589
                                                         251 Florida Street, Suite 301
                                                         Baton Rouge, Louisiana 70801
                                                         Telephone Number: (225) 343-0700
                                                         Facsimile Number: (225) 343-7700
                                                         E-mail: GarthRidge@aol.com




                                                    3
